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   4                         UNITED STATES DISTRICT COURT
   5                        CENTRAL DISTRICT OF CALIFORNIA
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   8   NOEL LARGAESPARDA, an                    Case No. CV 20-2773-MWF (AGRx)
       individual California resident, on
   9   behalf of himself individually           ORDER FOR DISMISSAL
       and the proposed class,
  10
                    Plaintiff
  11
                       v.
  12
       DOCTOR ON DEMAND, INC. a
  13   California corporation,
  14               Defendant.
  15

  16         The court having reviewed the parties’ Request to Dismiss Proposed Class
  17   Action Complaint (Docket No. 31) and finding good cause therefore, IT IS
  18   HEREBY ORDERED THAT:
  19      1. Plaintiff’s individual claims in this matter are dismissed with prejudice.
  20      2. Plaintiff’s PAGA and proposed class action claims in this matter are
  21         dismissed without prejudice.
  22      3. Pursuant to the settlement agreement in this matter, Defendant shall make
  23         payment to Plaintiff and Plaintiff’s counsel within 30 days after this order is
  24         signed by the Court.
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  26   Dated: October 29, 2021
  27                                          MICHAEL W. FITZGERALD
                                              United States District Judge
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